                Case 22-13166-PDR       Doc 40     Filed 08/23/22     Page 1 of 54




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

IN RE:                                                              Chapter 7

GENEREX BIOTECHNOLOGY CORP,                                         Case No. 22-bk-13166-PDR

      Debtor(s).
__________________________________/

                 GLOBAL NOTES AND STATEMENTS OF LIMITATION,
             METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTOR’S
                SCHEDULES OF ASSETS AND LIABILITIES, STATEMENT
                  OF FINANCIAL AFFAIRS, AND CREDITOR MATRIX

        Marc P. Barmat, as chapter 7 Trustee (the “Trustee”) for the estate Generex
Biotechnology Corp. (the "Debtor"), with the assistance of his professionals and advisors, have
filed the Debtor's Schedules of Assets and Liabilities (collectively, the “Schedules”) and the
Statement of Financial Affairs (collectively, the “Statements” and, together with the Schedules,
the “Schedules and Statements”) and creditor matrix in the United States Bankruptcy Court for
the Southern District of Florida (the “Bankruptcy Court”). The Trustee, after the solicitation
and review of the Debtor's books and records has prepared the Schedules and Statements and
creditor matrix, pursuant to section 521 of Chapter of Title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), and such are unaudited.

       While the Trustee has made every reasonable effort to ensure that the Schedules and
Statements and creditor matrix are as accurate and complete as possible, based on information
that was available at the time of preparation, subsequent information or discovery may result in
material changes to these Schedules and Statements and creditor matrix, and inadvertent errors or
omissions may have occurred. As the Schedules and Statements contain unaudited information,
which is subject to further review, verification, and potential adjustment, there can be no
assurance that these Schedules and Statements and creditor matrix are as complete as practicable.

        The Trustee and his professionals do not guarantee or warrant the accuracy or
completeness of the data that is provided in the Schedules and Statements and creditor matrix,
and shall not be liable for any loss or injury arising out of or caused in whole or in part by the
acts, omissions, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating or delivering the information contained in the Schedules and
Statements. Except as required by the Bankruptcy Code, the Trustee and his professionals do not
undertake any obligation to update, modify, revise or re-categorize the information provided in
the Schedules and Statements, or, except as required by the Bankruptcy Code, the Bankruptcy
Rules, or order of the Bankruptcy Court, to notify any third party should the information be
updated, modified, revised or re-categorized. The Trustee and his professionals disclaim any



65846014;2
              Case 22-13166-PDR          Doc 40     Filed 08/23/22     Page 2 of 54




liability to any third party arising out of or related to the information contained in the Schedules
and Statements and reserve all rights with respect thereto.

        These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statement of Financial Affairs and Creditor Matrix
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of, the
Debtor’s Schedules and Statements and creditor matrix, and should be referred to and considered
in connection with any review of the Schedules and Statements and creditor matrix. In the event
that the Schedules and Statements differ from the Global Notes, the Global Notes shall control.

        1.     Sources of Information Requested and Provided. In preparing these schedules,
the Trustee has requested information from the receiver that was previously appointed for
Debtor, the petitioning creditors, Debtor’s two most recent auditors, MNP LLP, and Mazars
USA, LLP, Debtor’s accounting firm that also performed CFO services for Debtor, CFO Squad
LLC, Debtor’s former chief executive officer, Joseph Moscato, Debtor’s former IT professional,
Paul Chiapetta, and Debtor’s former officer Andrew Ro. The Trustee received information from
most of these individuals and entities, except former CEO Joseph Moscato, who declined to
provide information necessary to fill out schedules and who did not produce any documents.
The Trustee was not provided any comprehensive list of creditors’ names and addresses from
any of these sources, as Debtor’s Quickbooks contains no contact information for any of the
creditors. The Trustee has not been provided bank records from any of Debtor’s or its
subsidiaries banks, a list of which was provided by the Receiver. The Trustee reviewed
information from the Debtor’s SEC filings in preparing the schedules. The Trustee relied on the
accuracy of information provided from the above sources. The Trustee has not been able to
locate addresses for all creditors, and if addresses are found at a later point, the Schedules and
Statements and creditor matrix, will be updated.

        2.     Net Book Value of Assets. It would be prohibitively expensive and unduly
burdensome, for the Trustee to obtain current market valuations for all of the Debtor's assets.
Accordingly, unless otherwise indicated in the Schedules and Statements or herein, the Debtor’s
Schedules and Statements reflect net book values as reflected in the Debtor’s books and records.
Additionally, the Debtor’s listed investments in Debtor subsidiaries as having an unknown book
value, but the Trustee reserves the right to amend or adjust the value of each asset or liability set
forth herein.

        3.      Intellectual Property Rights. The exclusion of any intellectual property shall not
be construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall not
be construed to be an admission that such intellectual property rights have not been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction.

       4.      Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
Schedule E/F as “priority” or “unsecured,” or (c) Schedule G as “executory” or “unexpired,”
does not constitute an admission by the Trustee of the legal rights of the claimant, or a waiver of



65846014;2
               Case 22-13166-PDR          Doc 40      Filed 08/23/22     Page 3 of 54




the Trustee’s right to recharacterize or reclassify such Claims or contracts or leases, the Trustee’s
setoff or recoupment rights with respect to such Claims, or any other rights of the Trustee related
to such Claims.

        5.       Causes of Action. Despite the Trustee's reasonable efforts to identify all known
assets, the Trustee may not have listed all of the Debtor's causes of action or potential causes of
action against third-parties as assets in the Schedules and Statements, including, without
limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy Code
and any relevant non-bankruptcy laws to recover assets or avoid transfers. The Trustee reserves
all of his rights with respect to any cause of action (including avoidance actions), controversy,
right of setoff, cross-Claim, counter-Claim, credits, or recoupment and any Claim on contracts or
leases or for breaches of duties imposed by law or in equity, demand, right, action, lien,
indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power,
privilege, license, and franchise of any kind or character whatsoever, known, unknown, fixed or
contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before,
on, or after the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any other
theory of law (collectively, “Causes of Action”) they may have, and neither these Global Notes
nor the Schedules and Statements shall be deemed a waiver of any Claims or Causes of Action or
in any way prejudice or impair the assertion of such Claims or Causes of Action by the Debtor
and its estate.

    SPECIFIC DISCLOSURES APPLICABLE TO SCHEDULES AND STATEMENTS

         Schedules A/B – The information reflected in Schedules A/B were received from CFO
         Squad, LLC, former accounting firm and CFO of the Debtor and/or from the Debtor's
         most recent 10-Q or 10-K. The Trustee has requested and not received records from
         Royal Bank of Canada, and has not yet confirmed the amounts remaining in these
         accounts. The Trustee has not confirmed the amount of unused retainers from the
         individual law firms. The appraised value for the approximate 63.96% of stock of
         NuGenerex Immuno-Oncology, Inc. comes from a valuation by Marshall Stevens as of
         November 15, 2020.

         Schedule D. With respect to the Claims listed on Schedule D, reference to any loan
         agreements and related documents is necessary for a complete description of the
         collateral and the nature, extent, and priority of liens. Nothing in the Global Notes or the
         Schedules and Statements shall be deemed a modification or interpretation of the terms of
         such agreements. The Trustee reserves all rights to amend Schedule D. Nothing herein
         shall be construed as an admission by the Trustee of the legal rights of the claimant or a
         waiver of the Trustee's right to recharacterize or reclassify such Claim or contract.

         By listing a party on Schedule D based on a UCC-1 filing, the Trustee is not conceding
         that such party actually holds a perfected, unavoidable security interest in the asset that is
         the subject of such filing, and reserves all rights as set forth in these Global Notes. Except
         as otherwise agreed pursuant an order of the Bankruptcy Court, the Trustee reserves the
         right to dispute or challenge the validity, perfection or priority of any lien purported to be



65846014;2
               Case 22-13166-PDR          Doc 40      Filed 08/23/22     Page 4 of 54




         granted or perfected in any specific asset to a creditor listed on Schedule D. The
         descriptions provided on Schedule D are intended only as a summary.

         Schedule E/F. The Trustee has used reasonable efforts to report all general unsecured
         Claims against the Debtor on Schedule E/F, based upon the Debtor’s books and records
         as of the Petition Date. Determining the date upon which each Claim on Schedule E/F
         was incurred or arose would be unduly burdensome and cost prohibitive and, therefore,
         the Trustee does not list a date for each Claim listed on Schedule E/F. Furthermore,
         claims listed on Schedule E/F have been aggregated by unique creditor name and may
         include several dates of incurrence for the aggregate balance listed. Schedule E/F
         contains potential claims on account of pending litigations involving the Debtor. Each
         potential claim associated with any such pending litigation is marked disputed in the
         Schedules and Statements. Some of the potential litigation claims listed on Schedule E/F
         may be subject to subordination pursuant to section 510 of the Bankruptcy Code. The
         Trustee incorporates by reference into Schedule E/F all parties to pending litigations
         listed in Statement Item 7 of the Debtors’ Statements as disputed claims, to the extent not
         already listed on Schedule E/F.

         The listing of any Claim on Schedule E/F does not constitute an admission by the Trustee
         that such Claim is entitled to priority treatment under section 507 of the Bankruptcy
         Code. The Trustee reserve the right to dispute the priority status of any Claim on any
         basis.

         Schedule G. While reasonable best efforts have been made to ensure the accuracy of
         Schedule G, inadvertent errors or omissions may have occurred. The Trustee reserves the
         right to dispute the validity, status or enforceability of any contracts, agreements or leases
         set forth in Schedule G and to amend or supplement such Schedule as necessary.
         Additionally, the placing of a contract or lease onto this Schedule shall not be deemed an
         admission that such contract is an executory contract or unexpired lease, or that it is
         necessarily a binding, valid and enforceable contract. The contracts, agreements and
         leases listed on Schedule G may have expired or may have been terminated, assigned,
         modified, amended and/or supplemented from time to time by various amendments,
         change orders, restatements, waivers, estoppel certificates, letters and other documents,
         instruments, and agreements which may not be listed therein.

         Statement – Question 4 – Payments to or for the Benefit of Insiders. On the Statement
         of Financial Affairs Part 2, Question 4, the Trustee has scheduled all known payments or
         transfers to any “insider” made within 1 year prior to the Petition Date. While reasonable
         best efforts have been made to ensure the accuracy of the transfers, inadvertent errors or
         omissions may have occurred as the Trustee does not have the bank statements that were
         to be provided by Royal Bank of Canada and any other banks used by Debtor or its
         affiliates. The Trustee does not take any position with respect to (i) such person’s
         influence over the control of the Debtor’s estate; (ii) the management responsibilities or
         functions of such individual; (iii) the decision-making or corporate authority or such
         individual; or (iv) whether such individual could successfully argue that he or she is not
         an “insider” under applicable law, including the federal securities law, or with respect to



65846014;2
               Case 22-13166-PDR         Doc 40     Filed 08/23/22    Page 5 of 54




         any theories of liability or any other purpose. As such, the Trustee reserve all rights to
         further supplement or revise the listed transfers, and dispute whether any individual or
         entity identified in response to Question 4 is in fact an “insider” as defined in section
         101(31) of the Bankruptcy Code.

                       * * * END OF GLOBAL NOTES * * *
         * SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE *




65846014;2
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 6 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 7 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 8 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 9 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 10 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 11 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 12 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 13 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 14 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 15 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 16 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 17 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 18 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 19 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 20 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 21 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 22 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 23 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 24 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 25 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 26 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 27 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 28 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 29 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 30 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 31 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 32 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 33 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 34 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 35 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 36 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 37 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 38 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 39 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 40 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 41 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 42 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 43 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 44 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 45 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 46 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 47 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 48 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 49 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 50 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 51 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 52 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 53 of 54
Case 22-13166-PDR   Doc 40   Filed 08/23/22   Page 54 of 54
